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                    ATTACHMENT
                              A
                  Redacted Docket Materials
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR ONE ACCOUNT No. 20-sc-780
 SERVICED      BY       MICROSOFT
 CORPORATION FOR INVESTIGATION Filed Under Seal
 OF VIOLATION OF 18 U.S.C. § 1956

Reference:     USAO Ref. A                 Subject Account(s):

                      APPLICATION OF THE UNITED STATES
                   FOR AN ORDER PURSUANT TO 18 U.S.C. § 2703(d)

       The United States of America, moving by and through its undersigned counsel, respectfully

submits under seal this ex parte application for an Order pursuant to 18 U.S.C. § 2703(d). The

proposed Order would require Microsoft           Corporation ("PROVIDER"), an electronic

communication service and/or remote computing service provider located in Redmond,

Washington to disclose certain records and other information pertaining to the PROVIDER

account(s) associated wit                             as set forth in Part I of Attachment A to the

proposed Order. The records and other information to be disclosed are described in Part II of

Attachment A to the proposed Order. In support of this application, the United States asserts:

                      LEGAL BACKGROUND AND JURISDICTION

       1.      PROVIDER is a provider of an electronic communication service, as defined in 18

U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2).

Accordingly, the United States may use a court order issued under section 2703(d) to require

PROVIDER to disclose the items described in Part II of Attachment A. See 18 U.S.C. § 2703(c)(2)

(Part ILA of Attachment A); 18 U.S.C. § 2703(c)(1) (Part II.B of Attachment A).

       2.      This Court has jurisdiction to issue the proposed Order because it is "a court of

competent jurisdiction," as defined in 18 U.S.C. § 2711. See 18 U.S.C. § 2703(d). Specifically,
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the Court is a District Court of the United States that has jurisdiction over the offense being

investigated. See 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, DC. See 18 U.S.C.

§ 3237.

       3.      A court order under section 2703(d) "shall issue only if the governmental entity

offers specific and articulable facts showing that there are reasonable grounds to believe that . . .

the records or other information sought . . . are relevant and material to an ongoing criminal

investigation." 18 U.S.C. § 2703(d). Accordingly, the next section of this application sets forth

specific and articulable facts showing that there are reasonable grounds to believe that the records

and other information described in Part II of Attachment A are relevant and material to an ongoing

criminal investigation.

                                     THE RELEVANT FACTS

       4.      The United States is investigating                              (M)      for their use

of U.S. correspondent banks to support

                     ) by facilitating payment for petroleum imports from                        The

investigation concerns possible violations of, inter alia, the money laundering statute, 18 U.S.C.

§ 1956(h).         located in            , is a wholesaler of solid, liquid, and gaseous fuels and

related products (i.e. petroleum).

                       EXPORTS TO




                          is a          -based company that imports oil for                  . When



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discussing how companies like          operated                         a company like             would

import diesel from           refineries and then ship it either directly to                 or through

                               the                military was the sole user of the oil.

         6.                                            business model has         pay a U.S. dollar

pre-deposit to          oil companies. Once the pre-deposits clear,           receives quotas from

          oil companies for a certain amount of petroleum products, after which the quotas are

exchanged for petroleum products to be exported to                            failed to obtain a

license from the U.S. Department of Treasury's Office of Foreign Assets Control ("OFAC"),

which is located in Washington, D.C., which is located in Washington, D.C., prior to engaging in

these U.S. dollar transactions.

         7.      Financial analysis of suspicious transactions corroborated the Defector's

statements. In 2014,          originated at least sixteen wires to

                                                  ,a          petroleum company. The wires totaled

approximately $48 million. In 2015,         originated at least six wires for $53 million to          Dn

June 1, 2017, OFAC designateMor providing oil to

                              law enforcement has concluded that            was procuring petroleum

from lifor transshipment to                            failed to obtain a license from OFAC prior to

engaging in these transactions.

   II.        SUSPECTED ILLICIT FINANCIAL TRANSACTIONS




         9.      Subpoena returns from U.S. Financial Institutions which Process International

Wires revealed U.S. dollar transactions between            and multiple entities sanctioned or linked



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to               evasion of sanctions. Although not all the companies were sanctioned at the time

of their business with     , the fact      consistently appears in these transactions over a period

of almost 10 years

       . These transactions are summarized as follows:

          OFAC Designated Counter arties to              U.S. Dollar        Timeframe
               transaction with                           Amount




        10.    On or about June 29, 2017, OFAC designated

                               for operating in the transportation industry in the

economy. The designation noted that                           transported 700,000 tons of freight

annually, including coal and steel products, between         and              . Subpoena returns

from U.S. Financial Institutions which Process International Wires revealed that from January

2012 to September 2013,                        originated approximately seventeen wire transfers

totaling approximately 1.2 million U.S. dollars to

        11.    On June 14, 2017, the government filed a forfeiture complaint for 1,902,976 U.S.

dollars seized from                                                             a company owned

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by                                                             . The complaint alleged that

is a front company that was created to launder U.S. dollars on behalf of a sanctioned

bank, th                             In August 22, 2017, OFAC designated                for acting as a

front company for UN- and U.S.-designated                                  The designation noted that

                 has provided fmancial services to the                        by, among other things,

conducting U.S.-dollar denominated transactions.             Subpoena returns from U.S. Financial

Institutions which Process International Wires revealed three wire transfers from                    to

        on August 29, 2013, February 18, and 21, 2014, totaling approximately 296,800 U.S.

dollars.

           12.      The U.S. filed a complaint on September 26, 2016, to forfeit all funds contained in

25 bank accounts belonging to

                 located in      , and its front companies. On the same date, the Department of Justice

unsealed criminal charges against             and          owner,                and three other

executives. The U.S. Treasury Department designated                 in September 2016 as a sanctioned

entity pursuant to Executive Order 13382, targeting proliferators and their supporters. The

designation noted              acted for or on behalf of

located in                    which was previously designated by Treasury for providing fmancial

services in support of WMD proliferators.                 used an illicit network of front companies,

fmancial facilitators to facilitate transactions on behalf of             Subpoena returns from U.S.

Financial Institutions which Process International Wires revealed twenty-seven wire transfers from

           to           from approximately March 2009 to August 2013, totaling approximately

$39,000,000.




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         13.    On July 23, 2015, OFAC designated                                                 for
                                                                              ("
providing material support to                                                                     ").

OFAC previously designated                         for attempting to import a concealed shipment of

arms and related materiel into                 . The designation noted that         supported

           by arranging the purchase, repair, certification, and crewing of                  vessels.

Subpoena returns from U.S. Financial Institutions which Process International Wires revealed

three wires from             to          from approximately June 2010 to August 2011, totaling

approximately $251,250.

         14.    On August 22, 2017, OFAC designated

                                  . The designation noted that                        sold, supplied,

transferred, or purchased coal or metal, directly or indirectly, from                  , and that the

revenue may have benefitted the nuclear or ballistic missile programs o

                                               The designation also noted that

specializes in the import, export, and transport of steel and anthracite coal, and that it has worked

with a number of U.S.-designated entities, including the U.S.-designated

                                                                                   allegedly used the

foreign exchange received from the end users of                    coal to purchase other items for

                including nuclear and missile components.        This Court previously found that

                     acting also under the names of

and                                                          , had illegally laundered approximately

700 million U.S. dollars for the benefit of sanctioned                  entities. Subpoena returns

from U.S. Financial Institutions which Process International Wires revealed at least 3.1 million

U.S. dollars in wires with



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    III.         TARGET ACCOUNTS

           15.            subsequently had difficulty conducting U.S. dollar transactions, due in large

part to its illicit business with                 and began transitioning much of its operations to a

related company,

           16.     This court previously authorized search warrants for the email accounts of several

       executives. See

           17.

II. The banks records revealed that three ME                representatives

                                                                                      —use the Target

Accounts as described below.

           18.     According to the confidential reliable source and previously collected

emails,                                                                          of      between May

25, 1990 and March 29, 2018, and is currently a                  of       . On January 1, 2017,

                 assumed the post of financial consultant of               emails revealed that

                 was involved with         as of on or about January 2018. According to

bank records,                         s email account is                         ("Target Account 1").

           19.     According to the confidential reliable source and previously collected

emails,                                            was a          of          between October 18, 2016

and March 20, 2018 and is currently                  at M. According to                  bank records,

Neo Ching Hwei's email account                                         "Target Account 2").

           20.     According to the confidential reliable source and previously collected

emails,                                           waME            of          between October 18, 2016

and March 20, 2018, and is currentlyME at M. The investigation revealed a copy of a


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contract between         and a         oil company, M,         which was sent by

to various          representatives. According to               bank records,

email account isi                         ("Target Account 3").

       Role That Metadata Will Serve In Advancing the Investigation

       21.     Based on prior investigations, law enforcement is aware that criminal co-

conspirators communicate frequently through private messages and email about their legitimate

and illegitimate businesses, as well as the transfer of proceeds from such businesses. Private

messages and email offer a uniquely valuable form for such communication, as they can be

accessed from any location. Many such persons also believe that such messages are difficult to

trace, which leads them to have inculpatory conversations.

       22.     Moreover, persons operating international procurement operations typically have

to communicate via email with persons funding their operations, due to the time differences

involved, as well as limited phone access in certain regions of the world. When transferring funds

to co-conspirators, electronic communications will normally occur to inform the other party that

the money has been sent, followed up by communications that the money has been received. Law

enforcement is also aware know from prior investigations that subordinates in the management

chain must communicate to their superiors the status of their illegal tasks as well as receive new

illegal tasks. Based on these facts, law enforcement believes that the subjects of the investigation

are communicating via email.

       23.     Because criminals who communicate via email fear detection, they typically

employ multiple fake identities, which is accomplished by creating numerous free email accounts.

Part of managing this vast number of accounts often leads to the linking of recovery accounts.

This allows a single user the ability to access as well as reset passwords for the multiple linked



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accounts. Law enforcement is aware that the tracking and detection of linked accounts is one way

by which a person and/or co-conspirators can be identified. Moreover, the linking of a recovery

account can further demonstrate who has access and/or control of an account.

        24.     The header information of these communications can reveal the scope of the

contacts between the money launderers/export control violators and who the important co-

conspirators are.    Multiple individuals and companies associated with the targets of this

investigation have taken steps to obscure or anonymize their identities. Learning the header

information from associated email accounts is likely to reveal persons within this network,

including persons in Asia, as well as further identify any other users of the email account.

        25.     Learning this information will allow law enforcement to investigate these newly

identified persons, and in some instances surveil and interview them. Identifying, surveilling, and

interviewing these persons will advance the investigation of the subjects and their co-conspirators,

by further revealing the scope of their activities, both legal and illegal.

                                     REQUEST FOR ORDER

        26.     The facts set forth above show that there are reasonable grounds to believe that the

records and other information described in Part II of Attachment A are relevant and material to an

ongoing criminal investigation. Specifically, these items will help the United States to identify

and locate the individual(s) who are responsible for the criminal activity under investigation, and

to determine the nature and scope of that criminal activity. Accordingly, the United States requests

that PROVIDER be directed to produce all items described in Part II of Attachment A to the

proposed Order within ten days of receipt of the Order.

        27.     The United States further requests that the Order direct PROVIDER not to notify

any person, including the subscriber or customer of each account listed in Part I of Attachment A,



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of the existence of the application of the United States or the Order for one year from the date of

the Court’s Order. See 18 U.S.C. § 2705(b). This Court has authority under 18 U.S.C. § 2705(b)

to issue “an order commanding a provider of electronic communications service or remote

computing service to whom a warrant, subpoena, or court order is directed, for such period as the

court deems appropriate, not to notify any other person of the existence of the warrant, subpoena,

or court order.” See 18 U.S.C. § 2705(b). 1

        28.    In this case, the proposed Order seeks information relevant to establishing the

illegal activity under investigation and identifying the individual(s) responsible. Accordingly,

disclosure may reveal the existence, scope, and direction of the United States’s ongoing and

confidential investigation.    Once alerted to this investigation, potential target(s) could be

immediately prompted to destroy or conceal incriminating evidence, alter their operational tactics

to avoid future detection, and otherwise take steps to undermine the investigation and avoid future

prosecution. In particular, given that they are known to use electronic communication and remote

computing services, the potential target(s) could quickly and easily destroy or encrypt digital

evidence relating to their criminal activity. Notification could also result in the target(s) avoiding

travel to the United States or other countries from which they may be extradited.

        29.    Therefore, based on the foregoing, there are reasonable grounds to believe that

notification of the existence of this Order would result in flight from prosecution, destruction of



1
  The government relies on § 2705(b) to seek a preclusion-of-notice order because the government
is requesting only non-content information pursuant to § 2703(d), an action which is authorized
by § 2703(c). See 18 U.S.C. § 2703(c)(1)(B) (“governmental entity may require a provider of
electronic communication service or remote computing service to disclose a record or other
information pertaining to a subscriber to or customer of such service (not including the contents
of communications) only when [it] . . . obtains a court order for such disclosure under subsection
(d) of this section”). Under § 2703(c), the government has no obligation to notify the subscriber.
See 18 U.S.C. § 2703(c)(3) (“governmental entity receiving records or information under this
section is not required to provide notice to a subscriber or customer”).
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or tampering with evidence, or other serious jeopardy to this investigation. See 18 U.S.C.

§ 2705(b)(2), (3), and (5).

       30.     Given the complex nature of the criminal activity under investigation and likely

involvement of foreign-based coconspirators and evidence, and also given that the criminal scheme

may be ongoing, the Government anticipates that this confidential investigation will continue for

the next year or longer.

       31.     12.     Accordingly, this Court should command PROVIDER not to notify any

other person (except attorneys for PROVIDER for the purpose of receiving legal advice) of the

existence of the proposed Order for a period of one year (commencing on the date of the proposed

Order), unless the period of nondisclosure is later modified by the Court. Should the court-ordered

nondisclosure under Section 2705(b) become no longer needed because of the closure of the

investigation or arrest of the account holder, the United States will make best efforts to notify the

Court promptly and seek appropriate relief.




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       32.     In this matter, the Government also requests that the instant Application and the

Order be filed under seal. The Court has the inherent power to seal court filings when appropriate,

including the proposed Order. United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980)

(citing Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978)). More particularly, the

Court may seal the Application and Order to prevent serious jeopardy to an ongoing criminal

investigation when such jeopardy creates a compelling governmental interest in confidentiality.

See Washington Post v. Robinson, 935 F.2d 282, 287-89 (D.C. Cir. 1991). For the reasons stated

above, the Government has a compelling interest in confidentiality to justify sealing the

Application and Order. See id.


                                             Respectfully submitted,

                                             TIMOTHY J. SHEA
                                             UNITED STATES ATTORNEY
                                             D.C. BAR NO. 437437

                                      By:            /s/ Zia M. Faruqui
                                             Zia M. Faruqui, D.C. Bar No. 494990
                                             Assistant United States Attorney
                                             555 Fourth Street, N.W.
                                             Washington, D.C. 20530
                                             (202) 252-7117 (Faruqui)
                                             zia.faruqui@usdoj.gov




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR ONE ACCOUNT No. 20-sc-780
 SERVICED      BY       MICROSOFT
 CORPORATION FOR INVESTIGATION Filed Under Seal
 OF VIOLATION OF 18 U.S.C. § 1956

                                             ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Microsoft Corporation (“PROVIDER”), an

electronic communication and/or remote computing service provider located in Redmond,

Washington to disclose the records and other information described in Attachment A to this Order.

The Court finds that the United States has offered specific and articulable facts showing that there

are reasonable grounds to believe that the records or other information sought are relevant and

material to an ongoing criminal investigation. Furthermore, the Court determines that there is

reason to believe that notification of the existence of this Order will seriously jeopardize the

ongoing investigation, including by giving targets an opportunity to flee from prosecution, and

destroy or tamper with evidence. See 18 U.S.C. § 2705(b)(2), (3), (5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that PROVIDER shall,

within ten days of the date of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

       IT IS FURTHER ORDERED under 18 U.S.C. § 2705(b) that PROVIDER shall not

disclose the existence of this Order of the Court to any other person (except attorneys for

PROVIDER for the purpose of receiving legal advice) for a period of one year (commencing on

the date of this Order), unless the period of nondisclosure is later modified by the Court.



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       IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court.



                                                  ___________________________________
                                                  HON. DEBORAH A. ROBINSON
                                                  UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information for any Microsoft Corporation

("PROVIDER") account(s) associated with the following identifier(s):



II. Records and other information to be disclosed

   A. Information about the customer or subscriber of the Account(s)

       Provider is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

"Accounts"), and for any account linked to such accounts or identifier by alternate email address,

telephone number, payment information, cookies, Google ID, Skype ID, Hotmail ID, Outlook ID,

MSN ID, or registration IP address ("Linked Accounts"):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);

       3. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol ("IP") addresses) associated with those sessions;

       4. Length of service (including start date) and types of service utilized;

       5. Other subscriber numbers or identities (including the registration Internet Protocol
          ("IP") address); and

       6. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.
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   B. All records and other information relating to the Account(s) (except the contents of
      communications)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for the Account(s) and Linked Account(s) for the time period from

January 1, 2012 to the present, constituting all records and other information relating to the

Account(s) and Linked Account(s) (except the contents of communications), including:

       1. Records of user activity for each connection made to or from the Account(s) and Linked
          Account(s), including log files; messaging logs; the date, time, length, and method of
          connections; data transfer volume; user names; and source and destination Internet
          Protocol addresses; and

       2. Information about each electronic communication sent or received by the Account(s),
          and Linked Account(s) including the date and time of the communication, the method
          of communication, and the source and destination of the communication (such as
          source and destination email addresses, IP addresses, and telephone numbers), and any
          other associated header or routing information.




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR ONE ACCOUNT No. 20-sc-780
 SERVICED      BY       MICROSOFT
 CORPORATION FOR INVESTIGATION Filed Under Seal
 OF VIOLATION OF 18 U.S.C. § 1956

                                             ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Microsoft Corporation (“PROVIDER”), an

electronic communication and/or remote computing service provider located in Redmond,

Washington to disclose the records and other information described in Attachment A to this Order.

The Court finds that the United States has offered specific and articulable facts showing that there

are reasonable grounds to believe that the records or other information sought are relevant and

material to an ongoing criminal investigation. Furthermore, the Court determines that there is

reason to believe that notification of the existence of this Order will seriously jeopardize the

ongoing investigation, including by giving targets an opportunity to flee from prosecution, and

destroy or tamper with evidence. See 18 U.S.C. § 2705(b)(2), (3), (5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that PROVIDER shall,

within ten days of the date of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

       IT IS FURTHER ORDERED under 18 U.S.C. § 2705(b) that PROVIDER shall not

disclose the existence of this Order of the Court to any other person (except attorneys for

PROVIDER for the purpose of receiving legal advice) for a period of one year (commencing on

the date of this Order), unless the period of nondisclosure is later modified by the Court.



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       IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court.

                                                                    Deborah A. Robinson
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                                                  ___________________________________
                                                  HON. DEBORAH A. ROBINSON
                                                  UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information for any Microsoft Corporation

("PROVIDER") account(s) associated with the following identifier(s):



II. Records and other information to be disclosed

   A. Information about the customer or subscriber of the Account(s)

       Provider is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

"Accounts"), and for any account linked to such accounts or identifier by alternate email address,

telephone number, payment information, cookies, Google ID, Skype ID, Hotmail ID, Outlook ID,

MSN ID, or registration IP address ("Linked Accounts"):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);

       3. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol ("IP") addresses) associated with those sessions;

       4. Length of service (including start date) and types of service utilized;

       5. Other subscriber numbers or identities (including the registration Internet Protocol
          ("IP") address); and

       6. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.
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   B. All records and other information relating to the Account(s) (except the contents of
      communications)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for the Account(s) and Linked Account(s) for the time period from

January 1, 2012 to the present, constituting all records and other information relating to the

Account(s) and Linked Account(s) (except the contents of communications), including:

       1. Records of user activity for each connection made to or from the Account(s) and Linked
          Account(s), including log files; messaging logs; the date, time, length, and method of
          connections; data transfer volume; user names; and source and destination Internet
          Protocol addresses; and

       2. Information about each electronic communication sent or received by the Account(s),
          and Linked Account(s) including the date and time of the communication, the method
          of communication, and the source and destination of the communication (such as
          source and destination email addresses, IP addresses, and telephone numbers), and any
          other associated header or routing information.




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